            Case 1:21-cr-00392-RCL Document 100 Filed 12/06/21 Page 1 of 6




 1   ALAN HOSTETTER
     P.O. BOX 1477
 2   SAN CLEMENTE, CA 92674
 3   Pro Se Defendant
 4

 5                               UNITED STATES DISTRICT COURT
 6                                    DISTRICT OF COLUMBIA
 7

 8   UNITED STATES OF AMERICA,                      ) Case No.: 21CR00392-RCL
                                                    )
 9                 Plaintiff,                       )
                                                    )
10          vs.                                     )
                                                    )
11   ALAN HOSTETTER,                                )
                                                    )
12                 Defendant.                       )
                                                    )
13
                                                    )
14                                                  )

15
                                         MOTION TO SEVER
16

17                      Defendant Alan Hostetter moves for an order severing his case from all

18   other co-defendants. This motion is based on Federal Rules of Criminal Procedure 8 and 14,

19   the attached Memorandum of Points and Authorities, the records, papers and files in this case

20   and on other such evidence as may be presented at the hearing on this motion. This motion is
21   further based on the attached Exhibit A (Defendant’s Motion to Dismiss – Document No. 99),
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     which includes the TIMELINE AND DESCRIPTION OF EVENTS associated with this
23
     motion showing no prior relationship or communication between defendant and co-defendants
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25

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             Case 1:21-cr-00392-RCL Document 100 Filed 12/06/21 Page 2 of 6




 1   Warner, Kinnison, Mele and Martinez. These four co-defendants are identified as “Three
 2   Percenters” in the indictment.
 3
                          Defendant does not now belong, nor has he ever belonged to the Three
 4
     Percenters or any other so-called militia group. Defendant has never knowingly met, spoken
 5
     or otherwise communicated with these four defendants thereby making it impossible to have
 6
     engaged in a criminal conspiracy with them. The government has produced no evidence to
 7
     refute this claim.
 8
                          Also as described in Exhibit A ( TIMELINE AND DESCRIPTION OF
 9

10
     EVENTS section) and incorporated herein by reference, defendant Hostetter believes co-

11   defendant Russell Taylor is a government operative of some sort targeting defendant in this

12   case. If Taylor is not officially assigned or registered to a federal law enforcement or

13   intelligence agency as such an operative, defendant believes he is working through a third-

14   party organization or intermediary connected to federal law enforcement. This method of
15
     operation would be done to avoid a direct connection to the federal government that might be
16
     exposed through Discovery. Defendant anticipates taking a confrontational and oppositional
17
     position in relation to co-defendant Russell Taylor’s potential defense strategy for that reason.
18
     In that regard, this motion should be granted.
19
                                               ARGUMENT
20
                          A. THE GOVERNMENT’S INTEREST IN JUDICIAL ECONOMY
21
     AND CONVENIENCE IN JOINDER FOR TRIAL IS OUTWEIGHED BY THE
22

23   SUBSTANTIAL LIKELIHOOD OF PREJUDICE TO THE DEFENDANT.

24                        1. The Federal Rules of Criinal Procedure Permit Severance to Ensure

25   A Fair Trial.
                                                      -2-
             Case 1:21-cr-00392-RCL Document 100 Filed 12/06/21 Page 3 of 6




 1                      Federal Rule of Criminal Procedure 8 (a) provides. That “two or more
 2   offenses may be charged in the same indictment or information in a separate count for each
 3
     offense if the offenses charged, whether felonies or misdemeanors or both, are of the same or
 4
     similar character or are based on the same act or transaction or on two or more acts or
 5
     transactions connected together or constituting parts of a common scheme or plan.”
 6
                        Rule 8 (b) provides that “two or more defendants may be charged in the
 7
     same indictment if they are alleged to have participated in the same act or transaction or in the
 8
     same series of acts or transactions constituting an offense or offenses. Such defendants may
 9

10
     be charged in one or more counts together or separately and all of the defendants need not be

11   charged in each count.”

12                      Federal Rule of Criminal Procedure 14 (a) provides: “if the joinder of

13   offenses or defendants in an indictment… appears to prejudice a defendant or the government,

14   the court may order separate trials of counts, sever the defendant’s trials, or provide any other
15
     relief that justice so requires.”
16
                        The Supreme Court has held that “when defendants have been properly
17
     joined under Rule 8 (b), a district court should grant severance under Rule 14 only if there is
18
     serious risk that a joint trial would prejudice a specific trial right of one of the defendants, or
19
     prevent the jury from making a reliable judgment about guilt or innocence.” Zafiro v. United
20
     States, 506 U.S. 534, 539 (1993); United States v. Cruz, 127 F. 3d 791, 798-99 (9th Cir. 1997).
21
     Thus, even though “[g]enerally speaking, defendants jointly charged are to be jointly tried.”
22

23   United States v. Escalante, 637 F. 2d 1197, 1201 (9th Cir. 1980) (Citing United States v. Gay,

24   567 F. 2d 916, 919 (9th Cir. 1978), the district court must weigh the threat of a finding by the

25   jury of guilt by association:
                                                      -3-
             Case 1:21-cr-00392-RCL Document 100 Filed 12/06/21 Page 4 of 6




 1                         •   Such a risk might occur when evidence that the jury should not
 2
                               consider against a defendant and that would not be admissible if a
 3
                               defendant were tried alone is admitted against a codefendant. For
 4
                               example, evidence of a co-defendant’s wrongdoing in some
 5
                               circumstances erroneously could lead a jury to conclude that a
 6
                               defendant was guilty. When many defendants are tried together in a
 7
                               complex case and they have markedly different degrees of
 8
                               culpability, this risk of prejudice is heightened.
 9

10   Zafiro, 506 U.S. at 538 (citing Kotteakos v. United States, 328 U.S. 750, 774-775 (1946).

11                     The decision to grant severance based upon prejudicial joinder rests with the

12   sound discretion of the trial court. See United States v. Ramirez, 710 F. 2d 535, 546 (9th Cir.

13   1983); United States v. Gee 695 F. 2d 1165 (9th Cir. 1983).
14                     Both Rule 8 and Rule 14, however require severance if a defendant can
15
     show prejudice by joinder. Schaffer v. United States, 362 U.S. 511, 516 (1960); Parker v.
16
     United States, 404 F. 3d 1193 (9th Cir. 1963). Severance should be granted where a defendant
17
     is so manifestly prejudiced that the prejudice outweighs the concern for judicial economy.
18
     United States v. Kenney, 654 F. 2d 1323, 1345 (9th Cir. 1981).
19
                       Courts have consistently held that there is “a high risk of undue prejudice
20
     whenever… joinder of counts allows evidence of other crimes to be introduced in a trial of
21

22
     charges with respect to which the evidence would otherwise be inadmissible. United States v.

23   Lewis, 787 F. 2d 1318, 1322 (9th Cir. 1986). “A joint trial where one defendant is charged

24   with offenses in which the other defendants did not participate, the detailed evidence

25   introduced to establish guilt of the separate offenses may shift the focus of the trial to the
                                                     -4-
              Case 1:21-cr-00392-RCL Document 100 Filed 12/06/21 Page 5 of 6




 1   crimes of the single defendant. In such cases, co-defendants run a high risk of being found
 2   guilty merely by association.” United States v. Setterfield, 548 F. 2d 1341, 1346 (9th Cir.
 3
     1977).
 4
                       In United States v. Baker, 10 F. 3d 1374 (9th Cir. 1993), the Court
 5
     considered the unique dangers of “mega-trials.” While affirming the convictions in that case,
 6
     the Ninth Circuit set forth its concerns regarding such mega-trials. The court observed that the
 7
     usual advantages of joint trials – judicial economy, convenience and efficiency – may not
 8
     apply to such lengthy and complex trials. In fact, judicial economy, efficiency, and the
 9

10
     interests of the prosecution in orderly presentation of its evidence, obtaining guilty pleas,

11   efficiently using its resources are interests that are advanced by severing the case into several

12   manageable parts. Id at 1389 – 1390. Contrasted with these “questionable benefits of a joint

13   trial” the court noted that “the risk of prejudice increases sharply with the number of

14   defendants.” Id. Among these risks, the court cited the likelihood that “armies of defense
15
     counsel… undermining each other with conflicting trial tactics and strategies;” the “risk of
16
     spillover prejudice” due to the “human limitations of the jury system,” a risk which the court
17
     noted, “is particularly acute for comparatively peripheral defendants”; the increase in the
18
     likelihood of instructional error and confusion of evidence admitted for limited purpose. Id. at
19
     1391.
20
                       District judges have exercised their discretion to grant severance of
21
     defendants where the sheer number of defendants and counts would be unduly complex and
22

23   lengthy. See, e.g., United States v. Shea 750 F. Sup. 46 (D.C. Mass 1990): indictment charged

24   23 defendants in 57 counts relating to drug trafficking; Accord, United States v. Agnello, 367

25   F. Supp. 444 (E.D. N.Y., 1973)
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             Case 1:21-cr-00392-RCL Document 100 Filed 12/06/21 Page 6 of 6




 1                     A joinder of offenses and defendants in this case will have a substantial and
 2   injurious effect, preventing defendant Hostetter from receiving a fair trial if tried with the
 3
     other defendants, several of whom are completely unknown to him. The spillover of evidence
 4
     concerning other defendants – evidence that would be inadmissible in a separate trial as to this
 5
     defendant – would undermine the right of defendant Hostetter to a fair trial. The complexity
 6
     of the case and sheer quantity of evidence would not reasonably permit a jury to properly
 7
     separate and consider evidence only as to defendant Hostetter in determining his guilt or
 8
     innocence. The very real threat that defendant Hostetter could be found guilty by association
 9

10
     exceeds any inconvenience to the government associated with a separate trial.

11                                            CONCLUSION

12                     For all the aforementioned reasons, defendant Hostetter moves this court to

13   sever his case from all co-defendants.

14

15
                                                    Respectfully Submitted,
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17
     DATED: December 6, 2021                        / s/
18
                                                    Alan S. Hostetter (Pro Se Defendant)
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